                                                                                  cMsg = app.response(cAsk);
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 1 of 53
                                                                    event.value = cMsg;
                                                                                           DEFENDANT'S
                                                                                             EXHIBIT

                                                                                               6
                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                        )
      et al.,                                     )
                                                  )
        Plaintiffs,                               )
                                                  )
v.                                                )   No. 2:22-cv-00184-LCB-SRW
                                                  )
KAY IVEY, in her official capacity                )
as Governor of the State of Alabama,              )
     et al.,                                      )
                                                  )
        Defendants.                               )

                               DECLARATION OF PATRICK HUNTER

        My name is Patrick Hunter MD. I am over the age of 19, I am qualified to give this

declaration, and, I have personal knowledge of the matters set forth herein. My CV is attached to

this declaration.

     In the past four years, I have not provided expert testimony in any case.

I am compensated the rate of $ 450 per hour for my work on this matter. My compensation is not

dependent upon the substance of my opinions or the outcome of the case.




                                                  1
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 2 of 53




I. QUALIFICATIONS AND EXPERIENCE ..................................................................................................3

II. SUMMARY OF KEY POSITIONS ........................................................................................................9

III. KEY POSITIONS ..............................................................................................................................9

A. GENDER IDENTITY IS NOT BIOLOGICALLY PREDETERMINED ............................................................................9
I.   BRAIN STUDIES HAVE NOT BEEN ABLE TO DEMONSTRATE A “TRANSGENDER BRAIN” .............................................10
II.  IDENTICAL TWIN STUDIES CHALLENGE THE NOTION THAT GENDER IDENTITY IS BIOLOGICALLY PREDETERMINED ..........11
III. PEER-REVIEWED PUBLICATIONS ACKNOWLEDGE THAT TRANSGENDER IDENTITY ARISES IN RESPONSE TO A COMPLEX
     INTERPLAY OF MULTIPLE FACTORS ................................................................................................................12
IV. THE “GENDER IDENTITY” THEORY HAS NEVER BEEN PROPERLY TESTED................................................................ 12
B. TRANSGENDER IDENTITY IN YOUNG PEOPLE TYPICALLY RESOLVES .................................................................14
I.   CHILDHOOD-ONSET GENDER DYSPHORIA TYPICALLY REMITS NATURALLY .............................................................15
II.  TRANSGENDER IDENTITY IN ADOLESCENTS HAS AN UNKNOWN DEVELOPMENTAL TRAJECTORY , BUT HIGH RATES OF
     MUTABILITY ARE INCREASINGLY EVIDENT .......................................................................................................19
III. THE TERMS “TRANSGENDER CHILD” OR “TRANSGENDER ADOLESCENT ” ARE POORLY DEFINED ................................ 24
C. THE ORIGINAL RESEARCH ON WHICH THE PRACTICE OF PEDIATRIC TRANSITION RESTS NO LONGER APPLIES TO THE
     CURRENTLY PRESENTING CASES ......................................................................................................... 24
I.   THE PROTOCOL FOR GENDER-TRANSITIONING MINORS SUFFERS FROM SERIOUS PROBLEMS ...................................24
II.  THE VAST MAJORITY OF CURRENTLY PRESENTING CASES OF GENDER DYSPHORIC YOUTH NO LONGER MEET THE STRICT
     CRITERIA OF THE DUTCH PROTOCOL .............................................................................................................28
D. THERE IS NO ESTABLISHED STANDARD OF CARE FOR TRANSGENDER-IDENTIFIED YOUTH ......................................31
I.   CURRENT TREATMENT GUIDELINES DO NOT REPRESENT A STANDARD OF CARE.....................................................31
II.  THE NATIONAL INSTITUTES OF HEALTH (NIH)-FUNDED RESEARCH ACKNOWLEDGES THAT LITTLE IS KNOWN ABOUT
     PEDIATRIC GENDER TRANSITION...................................................................................................................33
III. THE UNITED STATES IS INCREASINGLY BECOMING AN OUTLIER IN ITS NON-EVIDENCE-BASED STANCE THAT
     TRANSITIONING MINORS IS A SAFE AND EFFECTIVE PRACTICE ............................................................................35


IV. ETHICAL CONSIDERATIONS AND CONCLUSIONS ........................................................................... 37

A.    THE PRINCIPLE OF “PATIENT AUTONOMY” IS NOT RESPECTED WHEN “GENDER-AFFIRMING” HORMONES AND
      SURGERIES ARE PROVIDED TO MINORS ................................................................................................ 38
B.    THE PRINCIPLE OF “JUSTICE” IS VIOLATED WHEN MINORS ARE PROVIDED WITH “GENDER-AFFIRMING” HORMONES
      AND SURGERY .............................................................................................................................. 43
C.    THE ETHICAL PRINCIPLES OF “BENEFICENCE” AND “NON-MALEFICENCE” ARE VIOLATED BY PROVIDING MINORS WITH
      “GENDER-AFFIRMING” HORMONES AND SURGERIES............................................................................... 44
D.    TRUE INFORMED CONSENT FOR “GENDER-AFFIRMING CARE” FOR MINORS IS NOT POSSIBLE ............................. 47




                                                                         2
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 3 of 53




1. I submit this expert declaration based upon my personal knowledge, my experience as a

   pediatrician with an advanced degree in bioethics, and my review of the literature discussed

   below.

2. If called to testify in this matter, I would testify truthfully based on my expert opinion.


I. Qualifications and Experience

3. I am a pediatrician with a master’s degree in bioethics. I received my medical degree from

   the University of Louisville School of Medicine in 1992 and completed a pediatric residency

   at Tripler Army Medical Center in 1995. I obtained board certification in general pediatrics

   in 1995 and have continuously maintained that certification. I obtained a Master of Science

   degree in bioethics from the University of Mary in 2020. I have served on the ethics

   committee at Nemours Children Hospital, Orlando.

4. At Scotland Memorial Hospital, I served as pediatric department chair, medical executive

   committee chair, chief of the medical staff, and on the physician effectiveness committee.

   This physician effectiveness committee addressed physician professionalism and ethics. I

   also served on this hospital’s governing board and operating committee.

5. I have held teaching positions at the rank of clinical and associate professors at the

   University of Hawaii and the Uniformed Services University of the Health Sciences. I

   currently hold academic positions at the University of Central Florida and Florida State

   University. I have taught pediatrics and bioethics to medical students and resident physicians

   at Tripler Army Medical Center, the University of Central Florida, and Nemours Children’s

   Hospital in Orlando, Florida.

6. My path into the field of gender medicine is unique. For my first 20 plus years in practice,

   young people with transgender identity were an extremely rare phenomenon. While gay,

                                                  3
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 4 of 53




   lesbian, and gender non-conforming patients were not uncommon, none of the patients in my

   care were declaring a transgender identity.

7. However, in 2015, I began to see young patients, exclusively adolescent females, who

   asserted that they were transgender. I was surprised that the cases I was seeing had “come

   out” around and after puberty. This sudden epidemiological change did not agree with what I

   had learned.

8. Historically, gender identity disorder and gender dysphoria affected primarily pre-pubescent

   boys. These young boys were adamant about their female identity. Gender dysphoria was

   obvious to the family, and had begun at a young age (approximately 3-5 year old), long

   before children are developmentally capable of hiding facts from their parents. This

   presentation of cross-sex identification has been described in the literature as “persistent,

   insistent and consistent.” The rare cases of such young boys (and on an even rarer occasion,

   girls) did not have to “come out.”

9. I now know that my experience with seeing this unusual cohort of adolescents with no

   history of “persistent, insistent and consistent” cross-sex identity in early childhood closely

   mirrors the trends seen by other clinicians. In the last eight years there has been an

   unexplained, dramatic rise in adolescents declaring distress with their sexed bodies and

   seeking hormones and surgeries to stop the development of secondary sex characteristics.

10. These puzzling epidemiological shifts made me eager to learn what is known about pediatric

   gender transition. This has involved reading hundreds of papers in this field that have

   encompassed research, practice guidelines, epidemiology, opinions, history, and ethics. This

   reading has been from journals that include the NEJM, JAMA, Pediatrics, British Medical

   Journal, Lancet, Archives of Sexual Behavior, Journal of Homosexuality, Sexual Medicine,



                                                 4
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 5 of 53




   the Journal of American Academy of Child and Adolescent Psychiatry, American

   Psychologist, PLOS ONE, the Journal of Clinical Endocrinology and Metabolism, and many

   others. I have also studied professional guidelines from Finland, Sweden, Australia, New

   Zealand, England, France, and The Netherlands.

11. Importantly, I have also read the first-person accounts of patients in the lay literature, where

   patient stories and professional concerns are increasingly being voiced. It is my opinion that

   concerns regarding the so-called “gender-affirmative care model” are often barred from the

   medical literature.

12. My comprehensive review of the literature revealed that public health authorities in a number

   of progressive European countries have conducted independent evaluations of the evidence.

   They have found the evidence for youth transition to be lacking, any benefits to be of very

   low certainty, and the harms significant.

13. The risks of “gender-affirmative care” in youth are real and the harms are considerable. The

   most self-evident risk is that the treatment frequently leads to infertility. In fact, if the

   Endocrine Society’s treatment recommendations for youth are followed, and puberty

   blockers are followed by cross-sex hormones, sterility is nearly assured. Other risks are less

   certain, but alarming evidence is emerging that bone health is adversely affected. A growing

   list of concerns includes the effect on developing brains, cardiovascular complications of

   cross-sex hormones, increased risk for cancer, and others. Arguably the greatest harms are

   regret and detransition after irreversible bodily changes, sterilization, and impairment of

   sexual function that is wrought by hormones and surgery.




                                                   5
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 6 of 53




14. The unfavorable risk/benefit ratio of pediatric transition is the reason why a growing number

   of liberal western countries are now sharply scaling back the practice of pediatric gender

   transition.

15. I have always had a keen interest in medical ethics and often considered formal education in

   the field. I originally wanted to explore the merging of medicine and business—hospital

   systems dominating the marketplace and physicians becoming employees—and how this

   evolution was impacting the ethics of medical care. What I was learning about gender

   dysphoria further propelled my interest in an ethics degree. I undertook a study of bioethics,

   completing my master’s degree in bioethics in 2020.

16. In my degree, much effort was focused on the growing popularity of the so-called “gender-

   affirmative care,” which delivers life-altering, permanent interventions to minors that involve

   sterilizing procedures. I have focused on ethical dilemmas, such as whether minors have the

   capacity to give a meaningful informed consent.

17. My research has given me the opportunity to work with experts in the field of gender

   medicine from all over the world, including Sweden, Finland, England, Australia, Canada,

   and the United States. I have lectured with Dr. Rittakerttu Kaltiala, a child and adolescent

   psychiatrist and a leading world expert in transgender care for youth. Dr. Kaltiala was

   instrumental in recently changing Finland’s national transgender practice guidelines, when

   they recognized the harms being done to youth. I have also lectured on this topic to The

   National Academy of Science in France. I am a member of the group’s scientific council.

   Recently, my letter outlining concerns with the practice of pediatric gender transition was




                                                6
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 7 of 53




   published by JAMA Pediatrics. 1 I have authored several recent manuscripts that are

   currently under review.

18. To round out my academic grasp of the ethical issues, I have also engaged with individuals

   who transitioned as youth. Some have detransitioned. Some have remained transitioned. I

   have learned a lot from these brave patients who have been the trailblazers in the highly

   experimental field of pediatric gender transition.

19. I approach gender dysphoria, gender medicine, and transgender patients from both the

   clinical and the ethical perspectives. First and foremost, clinical care for patients that suffer

   from gender dysphoria must offer the greatest benefits. Care must aim for optimal

   psychological, physical, sexual, and reproductive well-being. Benefits must exceed harms.

   The well-respected medical truism must prevail: First, do no harm.

20. I will devote part of this declaration to the profound ethical concerns that all physicians

   should have when treating children with gender dysphoria with medical interventions. It is

   my conclusion as a bioethicist that the practice of prescribing puberty blockers, cross-sex-

   hormones, and surgeries to minors violates every key principle of biomedical ethics.

21. Based on numerous conversations and interactions with other pediatricians, it is my opinion

   that many share my concerns about the unusually high numbers of adolescents requesting

   gender reassignment and the “gender-affirming care” they are given. Many providers are

   concerned about the irreversible, profound, life-long changes that these poorly evidenced

   interventions entail. However, in our current climate, where political activism has taken over




1 Hunter PK. Political Issues Surrounding Gender-Affirming Care for Transgender Youth. JAMA

Pediatr. Published online December 20, 2021. doi:10.1001/jamapediatrics.2021.5348


                                                  7
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 8 of 53




    the medical profession, my colleagues are too afraid to speak out publicly. They fear being

    accused of “transphobia,” or fear losing their employment.

22. Gender-dysphoric youth are suffering, and they deserve our compassion and care. The

    question is not whether to treat them, but rather, how to treat them in a way that promotes

    their long-term health and well-being. It is my strong opinion, supported by a growing

    number of leading pediatric gender clinics and public health authorities in the western world,

    that hormonal and surgical interventions should be reserved for mature adults, while minors

    should be treated with supportive psychological care.

23. This is because many minors will find that their trans identity is a transient phase in their

    identity formation—a realization that is increasingly common among previously trans-

    identified youth. There is a growing visibility of detransitioned young adults. They regret that

    they were allowed to get the interventions they so disparately desired at the time, but now

    realize these interventions were a mistake. Those who persist in their transgender identity can

    undergo interventions as adults and can be highly successful in their transition. We have

    many visible examples of successful transitioned adults.

24. One symbol of the medical profession is Asclepias’s Rod, with a single snake wrapped

    around the rod. The rod is the walking stick that the physician uses to travel from home to

    home to care for those in need. The snake as a reminder, to both physician and patient, that

    the physician has the power to both heal and to harm.2

25. Below, I outline my position that “gender-affirmative” hormonal and surgical interventions

    for minors on the balance do more harm than good, and that these interventions should be



2
 Cavanaugh TA. Hippocrates’ Oath and Asclepius’ Snake. Vol 1. Oxford University Press; 2017.
doi:10.1093/med/9780190673673.001.0001


                                                      8
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 9 of 53




   delayed until a young person’s identity is stabilized, full maturity is reached, and true

   informed consent is attainable.


II. Summary of Key Positions

Below is a summary of my key opinions. I will expand on these opinions further.

   ▪   Gender identity is not biologically predetermined

   ▪   Transgender identity in young people typically resolves

   ▪   The original research on which the practice of pediatric transition rests no longer applies

       to the currently presenting cases

   ▪   There is no established standard of care for transgender-identified youth

   ▪   “Gender-affirming” interventions for youth cannot be ethically justified




III. Key Positions

A. Gender Identity is not biologically predetermined

26. Proponents of treating young people with “gender-affirming” hormones and surgeries assert

   that gender identity is biologically predetermined and, therefore, immutable. They argue that

   gender-dysphoric adolescents were born “transgender” and will always be “transgender”—

   much like children born with a congenital disorder such as a cleft palate. Thus, they argue

   that it is cruel and nonsensical to delay physical alterations to the bodies needed to make their

   future lives easier.

27. If one is to believe gender identity is biologically predetermined and immutable, and children

   presenting with gender dysphoria are simply “transgender children” who were born with a


                                                 9
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 10 of 53




   brain-body mismatch, a person holding such beliefs would reason that medical doctors

   should try to intervene as early as possible to “fix” the body. This is exactly the rationale that

   the expert witnesses for the plaintiffs in this case are presenting.

28. However, these claims are patently untrue. Despite decades of trying to prove that gender

   identity is biologically predetermined, the body of evidence points to something entirely

   different: that biology is far from deterministic, and that a transgender identity arises instead

   in response to is a combination of factors.

29. Below I present some of the arguments that demonstrate decisively that “gender identity” is

   not biologically predetermined.

       i.      Brain studies have not been able to demonstrate a “transgender brain”

30. Despite a number of brain studies that attempted to demonstrate that there is a distinctive

   brain structure that differentiates people with a transgender identity from the rest, no study

   has been able to demonstrate a pattern or structure unique to the “transgender brain.” The few

   differences that have been noted disappear after researchers control for sexual orientation and

   exposure to hormonal interventions that gender dysphoric people undergo, or the studies are

   too small or unable to control for these or other known confounding factors. Brain




                                                 10
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 11 of 53




    researchers clearly state that their findings do not justify statements suggesting gender

    dysphoria is a biological condition. 3, 4, 5, 6

      ii.    Identical twin studies challenge the notion that gender identity is biologically
             predetermined

31. Identical twin studies represent one the best available methods to test biological determinism.

    If gender identity were to be predetermined by one’s biology whereby certain children are

    simply born with a “transgender brain,” we would expect both identical twins to have a

    concordant gender identity majority of the time. Instead, the research into pairs of identical

    twins shows that if one of the identical twins has a transgender identity the chance that the

    other twin is also transgender identified is less than 30%.7

32. It should be noted that a 30% transgender identity concordance found in identical twins is

    much higher than would occur by chance, which raises the possibility of biological influence

    for the formation of a transgender identity, alongside other possibilities. However, the 70%

    discordance in identical twins’ transgender identity strongly signals that a transgender

    identity is not predetermined by one’s genes or prenatal factors.




3 Mueller SC, De Cuypere G, T’Sjoen G. Transgender Research in the 21st Century: A Selective Critical Review
From a Neurocognitive Perspective. AJP. 2017;174(12):1155-1162. doi:10.1176/appi.ajp.2017.17060626
4 Frigerio A, Ballerini L, Valdés Hernández M. Structural, Functional, and Metabolic Brain Differences as a
Function of Gender Identity or Sexual Orientation: A Systematic Review of the Human Neuroimaging Literature.
Arch Sex Behav. 2021;50(8):3329-3352. doi:10.1007/s10508-021-02005-9
5 Mueller SC, Guillamon A, Zubiaurre-Elorza L, et al. The Neuroanatomy of Transgender Identity: Mega-Analytic

Findings From the ENIGMA Transgender Persons Working Group. The Journal of Sexual Medicine.
2021;18(6):1122-1129. doi:10.1016/j.jsxm.2021.03.079
6 Mueller SC, Guillamon A, Zubiaurre-Elorza L, et al. The Neuroanatomy of Transgender Identity: Mega-Analytic
Findings From the ENIGMA Transgender Persons Working Group. The Journal of Sexual Medicine.
2021;18(6):1122-1129. doi:10.1016/j.jsxm.2021.03.079
7  Diamond M. Transsexuality Among Twins: Identity Concordance, Transition, Rearing, and Orientation.
International Journal of Transgenderism. 2013;14(1):24-38. doi:10.1080/15532739.2013.750222

                                                        11
    Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 12 of 53




      iii.   Peer-reviewed publications acknowledge that transgender identity arises in response

             to a complex interplay of multiple factors

33. The fact that transgender identity emerges due to the interplay of a multitude of factors,

    rather than having a biological cause, is widely recognized. In fact, Dr. Rosenthal, one of the

    expert witnesses for the plaintiffs acknowledged this in his 2014 study:8

             … studies have demonstrated that “gender identity”—a person’s inner sense of self

             as male, female, or occasionally a category other than male or female—…likely

             reflects a complex interplay of biological, environmental, and cultural factors.”

             (Rosenthal, 2014, p. 4379)


      iv.    The “gender identity” theory has never been properly tested

34. While it is evident that some people have a transgender identity, and “gender dysphoria” is a

    diagnosable DSM-5 psychological disorder, what “gender identity” is more generally, and

    whether and how it varies from one’s awareness of one’s sex for the rest of the population, is

    yet to be elucidated. The claims that “everyone has a gender identity,” and that one’s gender

    identity is a different entity than one’s awareness of one’s own sex, have never been put to

    test.

35. It is worth noting that the very concept of a “gender identity” is relatively new, popularized

    by the psychologist Dr. John Money in the 1960’s. Dr. Money’s theories about gender

    identity developed as he experimented on identical twin boys, one of whom was being raised



8 Rosenthal SM. Approach to the Patient: Transgender Youth: Endocrine Considerations. The Journal of Clinical
Endocrinology & Metabolism. 2014;99(12):4379-4389. doi:10.1210/jc.2014-1919




                                                      12
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 13 of 53




      as a girl at Dr. Money’s advice. Dr. Money made this recommendation following a

      circumcision accident that left the boy without a penis. To help the twin raised as a girl

      embrace his female gender role, Dr. Money performed highly unethical experiments on the

      boys, including making the siblings examine each other’s genitals and perform simulated

      sexual acts with one another.

36. Initially, the twin boy raised as a girl appeared to have embraced the female identity, which

      Dr. Money took as validation of his gender identity theory. However, the twin raised in the

      female gender role eventually re-identified with his biological sex. Tragically, both twins

      died young, one from a suicide, and the other from a drug overdose. 9 The parents of the

      twins blamed Dr. Money’s experiments as contributing to their sons’ mental health struggles

      and premature death.

37. The proponents of “gender-affirming” hormonal and surgical interventions for minors claim

      that Dr. Money’s experiments proved that gender identity is biologically predetermined and

      immutable (since the child raised as a girl eventually identified as a boy, despite the

      psychologist’s efforts to the contrary). However, few conclusions can be drawn from a single

      case that involved such unusual circumstances.

38. More than anything, this experiment demonstrates the problematic origins of the gender

      identity theory and highlights the profound ethical problems with the currently ongoing

      social, medical, and surgical experimentation on minors in an attempt to deny or obfuscate

      their sex.




9
    John Colapinto., 2013. As nature made him: the boy who was raised as a girl. HarperCollins Publishers.


                                                          13
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 14 of 53




B. Transgender identity in young people typically resolves

39. During childhood, adolescence, and young adulthood, an individual’s identity continues to

       develop and change. Historical data shows that most cases of a cross-sex identity in children

       resolve before they reach mature adulthood. Research confirms that the majority of such

       youth grow up to be gay, lesbian, or bisexual adults. In fact, a period of cross-sex

       identification in childhood is a common developmental pathway of gay adults.10, 11

40. Contrary to the assertions of the proponents of “gender affirmation,” the tendency of a cross-

       sex identity to resolve is not coerced, but rather happens through the natural course of

       undergoing puberty and reaching maturity. While the mechanism by which this change

       occurs is not exactly known, it has been observed that experiencing romantic and sexual

       encounters and undergoing physical changes of puberty play a key role. 12,13

41. In talking about the permanent vs. transient nature of transgender identity, is important to

       differentiate between two known variants of gender dysphoria in young people: the

       “classical” presentation where gender dysphoria begins in early childhood (typically between

       ages 3-5), and the novel and now-predominant variant where older children “come out” as

       transgender around or after the onset of puberty.




10
     See Cantor, 2020
11
 Korte A, Goecker D, Krude H, Lehmkuhl U, Grüters-Kieslich A, Beier KM. Gender Identity Disorders in
Childhood and Adolescence. Dtsch Arztebl Int. 2008;105(48):834-841. doi:10.3238/arztebl.2008.0834
12
  Steensma TD, Biemond R, de Boer F, Cohen-Kettenis PT. Desisting and persisting gender dysphoria after
childhood: A qualitative follow-up study. Clin Child Psychol Psychiatry. 2011;16(4):499-516.
doi:10.1177/1359104510378303
13
 Kaltiala-Heino R, Bergman H, Työläjärvi M, Frisen L. Gender dysphoria in adolescence: current perspectives.
AHMT. 2018;Volume 9:31-41. doi:10.2147/AHMT.S135432

                                                      14
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 15 of 53




       i.    Childhood-onset gender dysphoria typically remits naturally

42. To date, the total of 11 studies have been conducted to determine the trajectories of children

     with early-childhood onset of gender dysphoria. All 11 demonstrated that for a majority of

     such children (61%-98%), early childhood-onset gender dysphoria resolves without any

     interventions by late adolescence or young adulthood. 14, 15,16

43. Proponents of pediatric “gender-affirmation” reject this proven high rate of desistance. The

     fact that desistence happens so frequently in gender-dysphoric children is a threat to the

     premise of pediatric gender transition. In fact, the expert witnesses for the plaintiffs go to

     great lengths to preemptively discredit the statistic.

44. For example, Dr. Hawkins attempts to discredit the overwhelming evidence that pediatric

     gender dysphoria typically self-resolves by claiming that the prior studies dealt with merely

     gender-non-conforming “non-transgender children,” rather than “true transgender children.”

     Hawkins says, “Historically, earlier studies included a wide range of gender nonconforming

     children, rather than differentiating between transgender and non-transgender children, and

     also suffered from other serious methodological flaws that make them unreliable.”

     (Hawkins, para 22)

45. This claim is not credible at face value. The studies in question have been authored by the

     very same researchers who are their countries’ respective leaders in pediatric gender



14
  Cantor JM. Transgender and Gender Diverse Children and Adolescents: Fact-Checking of AAP Policy. Journal of
Sex & Marital Therapy. 2020;46(4):307-313. doi:10.1080/0092623X.2019.1698481

15
  Ristori J, Steensma TD. Gender dysphoria in childhood. International Review of Psychiatry. 2016;28(1):13-20.
doi:10.3109/09540261.2015.1115754

16
  Singh D, Bradley SJ, Zucker KJ. A Follow-Up Study of Boys With Gender Identity Disorder. Front Psychiatry.
2021;12. doi:10.3389/fpsyt.2021.632784



                                                       15
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 16 of 53




     transition. These are the very same authors who have produced much of the currently

     available literature upon which the entire field of pediatric gender transition rests. To

     suggest that these clinicians and researchers were somehow confused about their own study

     subjects, and accidentally studied children who were merely “tomboy girls” or “feminine

     boys,” rather than children with significant gender identity issues, is to imply that the entire

     body of evidence in the field of pediatric gender medicine came from highly confused

     clinicians and researchers.

46. Hawken’s argument is not original—the proponents of pediatric gender transition have been

     making it for some time. In response to their critique, a prominent researcher in the field of

     pediatric gender medicine, Dr. Ken Zucker, re-analyzed the studies in question and split the

     study subjects into two cohorts: those who were extremely gender non-conforming but did

     not meet the full diagnostic criteria for Gender Identity Disorder (which was the name of the

     respective DSM diagnosis at the time), and those who actually met the full diagnostic criteria

     for having Gender Identity Disorder.

47. The reanalysis confirmed the original finding that most children diagnosed with a gender

     issue per DSM—nearly 7 in 10—naturally stopped identifying as transgender by the time

     they reached adulthood. The rate of natural resolution for gender dysphoria is even higher,

     more than 9 in 10, for those who gender distress was significant enough to warrant a consult

     with a pediatric gender clinic, but not enough to meet the full diagnostic DSM criteria. 17




17
  Zucker KJ. The myth of persistence: Response to “A critical commentary on follow-up studies and ‘desistance’
theories about transgender and gender non-conforming children” by Temple Newhook et al. (2018). International
Journal of Transgenderism. 2018;19(2):231-245. doi:10.1080/15532739.2018.1468293


                                                       16
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 17 of 53




48. Yet another way that pro-transition activists have tried to discredit the well-established fact

     that childhood gender dysphoria eventually remits, is by claiming that DSM-IV criteria used

     at the time were so flawed as to be totally invalid. These claims assert that even those

     properly diagnosed with “Gender Identity Disorder” in DSM-IV were not “transgender” at

     all, but were merely gender-non-conforming.

49. While it is true that the updated DSM-5 criteria in use today made some changes to the

     childhood diagnosis, these changes have proven to be minor and not clinically significant.

     Both of the diagnostic manuals (the prior DSM-IV and the current DSM-5) were recently

     field-tested and were found to be equivalent in terms of which children they flagged as

     meeting the diagnostic criteria: 18

                 “…both editions (DSM-IV and DSM-5 and ICD-10 and ICD-11) of gender

                 identity-related diagnoses seem reliable and convenient for clinical use.”

50. The Chair of the DSM-5 Work Group for Sexual and Gender Identity Disorders also concurs

     that the change in the diagnostic criteria for children from DSM-IV to DSM-5 was not

     significant: 19

         “It is my clinical opinion that the similarities across the various iterations of the DSM are

         far greater than the differences (Zucker, 2010) and, as part of the work done by the

         Subcommittee on Gender Identity Disorders for the DSM-IV, provided one example of this

         (Zucker et al., 1998)


18
  de Vries ALC, Beek TF, Dhondt K, et al. Reliability and Clinical Utility of Gender Identity-Related Diagnoses:
Comparisons Between the ICD-11, ICD-10, DSM-IV, and DSM-5. LGBT Health. 2021;8(2):133-142. P.1
doi:10.1089/lgbt.2020.0272

19
  Zucker KJ. The myth of persistence: Response to “A critical commentary on follow-up studies and ‘desistance’
theories about transgender and gender non-conforming children” by Temple Newhook et al. (2018). International
Journal of Transgenderism. 2018;19(2):231-245. doi:10.1080/15532739.2018.1468293


                                                        17
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 18 of 53




51. Thus, the argument that the high desistance rates of pediatric gender dysphoria recorded in

     all the studies to date were due to the mistaken inclusion of merely gender-non-conforming,

     rather than “truly transgender” children, does not hold up. It is undeniable that most gender

     dysphoric children will not grow up to be transgender identified adults, as long as they are

     allowed to naturally develop without undergoing social and medical transition.

52. Further, contrary to the unfounded plaintiff expert witnesses’ claims, no clinician can

     accurately predict which of the trans-identified children will continue to identify as transgender

     in mature adulthood vs. those that will desist. This is recognized by the seminal study

     evaluating the development trajectories of gender-distressed children.20

                 “When considering the development of children with GD [gender dysphoria];

                 studies show that gender dysphoric feelings eventually desist for the majority of

                 children with GD, and that their psychosexual outcome is strongly associated with

                 a lesbian, gay, or bisexual sexuality which does not require any medical

                 intervention, instead of an outcome where medical intervention is required (e.g.

                 Drummond et al., 2008; Wallien & Cohen-Kettenis, 2008; Singh, 2012). Factors

                 predictive for the persistence of GD have been identified on a group level, with

                 higher intensity of GD in childhood identified as the strongest predictor for a future

                 gender dysphoric outcome (Steensma et al., 2013). The predictive value of the

                 identified factors for persistence are, however, on an individual level less clear

                 cut, and the clinical utility of currently identified factors is low” (Ristori and

                 Steensma, 2016, p. 6)



20
  Ristori J, Steensma TD. Gender dysphoria in childhood. International Review of Psychiatry. 2016;28(1):13-20.
doi:10.3109/09540261.2015.1115754


                                                       18
   Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 19 of 53




53. This very inability to predict who will persist vs. desist raises serious ethical questions

   regarding the provision of any irreversible procedures, and particularly those that result in

   sterilization.

54. The common claim by medicalization activists that once a gender-dysphoric minor reaches

   adolescence, their gender identity is fixed, is not supported by the evidence. In the 11

   desistance studies, the age at which the subjects were followed ranged from adolescence into

   young adulthood. Some desisted in puberty and others in young adulthood. The Endocrine

   Society’s treatment guidelines acknowledge this:21

               “With current knowledge, we cannot predict the psychosexual outcome for any

               specific child. Prospective follow-up studies show that childhood GD/gender

               incongruence does not invariably persist into adolescence and adulthood (so-

               called “desisters”). (Hembree et al., 2017, p. 3876)

     ii.   Transgender identity in adolescents has an unknown developmental trajectory, but

           high rates of mutability are increasingly evident

55. It is now well recognized that a new variant of transgender identity emerged in the mid

   2015’s, represented by young people who were not cross-sex identified in childhood. Such

   cases were virtually unseen until about 7-10 years ago. This is the very population I, and

   many of my colleagues in the US and internationally, are now seeing in our practices. If one

   can develop a transgender identity for the first time in adolescence, it demonstrates that a

   transgender identity is not fixed.




21 Hembree WC, Cohen-Kettenis PT, Gooren L, et al. ENDOCRINE TREATMENT OF GENDER-
DYSPHORIC/GENDER-INCONGRUENT PERSONS: AN ENDOCRINE SOCIETY CLINICAL PRACTICE
GUIDELINE. Endocrine Practice. 2017;23(12):1437-1437. doi:10.4158/1934-2403-23.12.1437


                                                19
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 20 of 53




56. The UK has one of the biggest pediatric gender clinics in the world. The UK clinicians made

     this observation recently regarding adolescents declaring a trans identity without any

     childhood history: 22

                     ‘…some of us have informally tended toward describing the phenomenon we

                     witness as “adolescent-onset” gender dysphoria, that is, without any notable

                     symptom history prior to or during the early stages of puberty (certainly

                     nothing of clinical significance.)”(Hutchinson et al., 2020, p. 1)

57. The lead researcher for the Finnish national pediatric gender services program, one of the

     most respected in the world, has stated the following: 23

                     “In Finland most adolescents seeking medical treatment in order for their body

                     to conform with their gender identity do not fulfil the eligibility criteria … for

                     example because they initially experienced onset of gender dysphoria in the

                     late stages of pubertal development or suffer from severe mental disorders

                     which predate the onset of gender dysphoria. Research on adolescent onset

                     gender dysphoria is scarce, and optimal treatment options have not been

                     established [12]. The reasons for the sudden increase in treatment-seeking due

                     to adolescent onset gender dysphoria / transgender identification are not

                     known [13]” (Kaltiala-Heino and Lindberg, 2019, p. 62)




22
  Hutchinson A, Midgen M, Spiliadis A. In Support of Research Into Rapid-Onset Gender Dysphoria. Arch Sex
Behav. 2020;49(1):79-80. p.1 doi:10.1007/s10508-019-01517-9

23 Kaltiala-Heino R, Lindberg N. Gender identities in adolescent population: Methodological issues and prevalence
across age groups. Eur psychiatr. 2019;55:61-66. p.62 doi:10.1016/j.eurpsy.2018.09.003



                                                       20
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 21 of 53




58. A leading Canadian pediatric gender expert made a similar observation: 24

             “.. it is my view (and that of others) that a new subgroup of adolescents with gender

            dysphoria has appeared on the clinical scene. This subgroup appears to be

            comprised—at least so far—of a disproportionate percentage of birth-assigned

            females who do not have a history of gender dysphoria in childhood or even

            evidence of marked gender-variant or gender nonconforming behavior.” (Zucker,

            2019, p. 4)

59. Last but not least, even the principal investigator of the medical protocol for transitioning

     minors (known as the Dutch Protocol) recently acknowledged that a fundamental shift has

     occurred where adolescents are “coming out” with a trans identity around puberty:25

                    “… gender identity development is diverse, and a new developmental pathway

                    is proposed involving youth with postpuberty adolescent-onset transgender

                    histories.6–8 These youth did not yet participate in the early evaluation

                    studies.5,9” (de Vries, 2020, p. 1)




24
  Zucker KJ. Adolescents with Gender Dysphoria: Reflections on Some Contemporary Clinical and Research
Issues. Arch Sex Behav. 2019;48(7):1983-1992. doi:10.1007/s10508-019-01518-8
25
  de Vries ALC. Challenges in Timing Puberty Suppression for Gender-Nonconforming Adolescents. Pediatrics.
2020;146(4):e2020010611. doi:10.1542/peds.2020-010611

                                                     21
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 22 of 53




60. Finally, the growing visibility of young adult detransitioners confirms that a transgender

     identity can desist in young people. 26, 27, 28, 29

61. A recent study from a UK adult gender clinic showed that over 10% of young people treated

     with gender-affirmative interventions detransitioned within 16 months of starting treatment.

     Another 22% of patients disengaged from the clinic without completing their treatment plan.30

62. Another clinic population study found that over 12% of those who had started hormonal

     treatments either detransitioned or documented regret, while 20% stopped the treatments for a

     wider range of reasons. These patients presented to the clinics as young adults (mean age of

     20) and it took them on average 5 years from beginning treatment to stopping it. Notably, the

     UK researchers said this: 31

             “Thus, the detransition rate found in this population is novel and questions may be

             raised about the phenomenon of overdiagnosis, overtreatment, or iatrogenic harm as

             found in other medical fields.” (Boyd et al., 2021, p.12)




26
  Entwistle K. Debate: Reality check – Detransitioner’s testimonies require us to rethink gender dysphoria. Child
Adolesc Ment Health. Published online May 14, 2020:camh.12380. doi:10.1111/camh.12380
27
  Littman L. Individuals Treated for Gender Dysphoria with Medical and/or Surgical Transition Who Subsequently
Detransitioned: A Survey of 100 Detransitioners. Arch Sex Behav. Published online October 19, 2021.
doi:10.1007/s10508-021-02163-w
28
  Levine SB, Abbruzzese E, Mason JM. Reconsidering Informed Consent for Trans-Identified Children,
Adolescents, and Young Adults. Journal of Sex & Marital Therapy. Published online March 17, 2022:1-22.
doi:10.1080/0092623X.2022.2046221
29
 Vandenbussche E. Detransition-Related Needs and Support: A Cross-Sectional Online Survey. Journal of
Homosexuality. Published online April 30, 2021:20. doi:10.1080/00918369.2021.1919479
30
  Hall R, Mitchell L, Sachdeva J. Access to care and frequency of detransition among a cohort discharged by a UK
national adult gender identity clinic: retrospective case-note review. BJPsych open. 2021;7(6):e184.
doi:10.1192/bjo.2021.1022

31
  Boyd IL, Hackett T, Bewley S. Care of Transgender Patients: A General Practice Quality Improvement Approach.
SSRN Journal. Published online 2021. p. 12 doi:10.3390/healthcare10010121


                                                        22
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 23 of 53




63. Further, we have direct evidence that adolescents with a transgender identity who desire to

     undergo medical interventions but are told to wait will likely desist. While the studies into

     this subject are scarce, in the early 2000’s Dutch researchers (who pioneered the practice of

     pediatric gender transition) followed 14 adolescents who were rejected from hormonal and

     surgical interventions due to presenting with co-morbid mental health issues. 32

64. At follow-up when the subjects were in their 20’s, approximately 1-7 years after being

     rejected from medical transition as minors, the researchers discovered that 11 of 14 cases no

     longer wished to transition at all, two subjects only slightly regretted not being able to

     transition, and only one subject continued to strongly wish to transition. This single subject

     only wanted breast augmentation, but no other surgery in order to preserve sexual function. 33

     Had that one individual been transitioned as a minor under the Dutch protocol, the loss of

     fertility and sexual function would have ensued.

65. Thus, all 14 of the 14 who were rejected from gender reassignment as teens benefitted from

     the intervention being delayed until they reached mature adulthood. These 14 young adults

     simultaneously prove three things: (i) Desistance frequently occurs. (ii) Desistence occurs

     even when gender dysphoria persists into adolescence. And (iii) a transgender identity is not

     immutable.




32
  Smith YLS, Van Goozen SHM, Cohen-Kettenis PT. Adolescents With Gender Identity Disorder Who Were
Accepted or Rejected for Sex Reassignment Surgery: A Prospective Follow-up Study. Journal of the American
Academy of Child & Adolescent Psychiatry. 2001;40(4):472-481. doi:10.1097/00004583-200104000-00017
33
   Malone W, D’Angelo R, Beck S, Mason J, Evans M. Puberty blockers for gender dysphoria: the science is far
from settled. The Lancet Child & Adolescent Health. 2021;5(9):e33-e34. doi:10.1016/S2352-4642(21)00235-2


                                                      23
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 24 of 53




       iii.   The terms “transgender child” or “transgender adolescent” are poorly defined

66. Precisely because no clinician can reliably predict which young person will desist from their

   transgender identification vs. who will persist, the notion of a “transgender child/adolescent”

   extensively used by the plaintiff’s witnesses is not a valid one.

67. “Transgender” is not a diagnosis found in any of the existing diagnostic classifications (either

   DSM or ICD). It’s a lay term that has a wide range of definitions that vary depending on each

   person’s unique understanding of this phenomenon.

68. I maintain that the use of the adjective “transgender” by the plaintiffs’ expert witnesses,

   whenever they talk about gender-dysphoric youth, aims to create an emotional response,

   implies immutability not supported by evidence, and generally does not belong in a legal

   document dealing with medical interventions as it lacks a clinical definition. The proper

   terms in medical contexts are “gender-dysphoric” or “diagnosed with gender dysphoria,”

   based on the diagnostic DSM-5 criteria that are currently in use in the United States.


C. The original research on which the practice of pediatric transition rests no longer

applies to the currently presenting cases


  i.      The Protocol for gender-transitioning minors suffers from serious problems.

69. The practice of pediatric gender transition, known as “gender-affirmative care,” rests on a

   single experiment from the Netherlands conducted circa 2010. This small, single-site,

   uncontrolled experiment showed that carefully selecting only the highest-functioning

   children with no mental health problems aside, from being cross-sex identified from early

   childhood on, and providing them with puberty blockers and cross-sex hormones upon

   reaching mid-adolescence, followed by surgeries after reaching the 18th birthday, allows


                                                 24
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 25 of 53




     these children to continue to be high-functioning approximately 1.5 years after the

     completion of final surgery. 34,35

70. However, the only attempt to replicate the Dutch experiment outside the Netherlands, in the

     world’s largest gender clinic in the UK, failed to show any positive outcomes of the first

     phase of the Dutch protocol (puberty blockers).36 The latter phases of the Dutch protocol

     (following puberty blockers with cross-sex hormones and surgery) have never been

     attempted to be replicated.

71. Further, new information came into light recently that suggests that the Dutch experiment

     was both misunderstood and misrepresented as providing “proof” that gender reassignment

     for minors leads to successful outcomes, when in fact, the study’s conclusions are highly

     questionable. For example, while the Dutch researchers took credit for the adolescents’ high

     level of functioning after transition, these adolescents were high functioning before transition

     due to the study’s stringent participant selection criteria.

72. In fact, for half of the psychological measures tracked, there were no statistically significant

     improvements before vs. after the treatment protocol. The positive changes in the rest of the

     psychological measures were so small as to be of highly questionable clinical significance,




34
  de Vries ALC, Steensma TD, Doreleijers TAH, Cohen‐Kettenis PT. Puberty Suppression in Adolescents With
Gender Identity Disorder: A Prospective Follow‐Up Study. The Journal of Sexual Medicine. 2011;8(8):2276-2283.
doi:10.1111/j.1743-6109.2010.01943.x
35
  de Vries ALC, McGuire JK, Steensma TD, Wagenaar ECF, Doreleijers TAH, Cohen-Kettenis PT. Young Adult
Psychological Outcome After Puberty Suppression and Gender Reassignment. Pediatrics. 2014;134(4):696-704.
doi:10.1542/peds.2013-2958
36
  Carmichael P, Butler G, Masic U, et al. Short-term outcomes of pubertal suppression in a selected cohort of 12 to
15 year old young people with persistent gender dysphoria in the UK. Santana GL, ed. PLoS ONE.
2021;16(2):e0243894. doi:10.1371/journal.pone.0243894

                                                        25
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 26 of 53




       and could not be attributed to the hormones and surgeries alone since all the subjects also

       received extensive psychological support. 37

73. More generally, the lack of a control group rendered the study findings “very low certainty,”

       the rating assigned to the study by the recent comprehensive systematic review of evidence

       conducted by the UK’s National Institute for Health and Care Excellence (NICE). 38

74. Even the study’s most-lauded finding, the marked drop in the “gender dysphoria” score, is

       now in question, as it has come to light that the researchers did not have an appropriate scale

       to capture changes in gender dysphoria, and they used the scale that they did have access to

       in a highly questionable way (by “flipping” the male and female versions of the scales

       between baseline and final measurement time periods).39

75. Further, the Dutch team had very strict screening criteria, which would have excluded the

       vast majority of young people who request gender reassignment today. For example, the

       Dutch excluded from their experiment any adolescent whose transgender identity emerged

       only around and after puberty—they required that clear cross-sex identification be present

       from very early childhood on. The Dutch also excluded the adolescents who were suicidal or

       had any significant unaddressed mental illness. Adolescents with a non-binary identity were

       not eligible. In addition, the Dutch researchers insisted that the adolescents have a firm grasp




37
     See Levine, 2020
38 National Institute for Health and Care Excellence. Evidence review: Gonadotrophin releasing hormone analogues
for children and adolescents with gender dysphoria.
https://web.archive.org/web/20220414202655/https://arms.nice.org.uk/resources/hub/1070905/attachment
39
     See Levine, 2020

                                                      26
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 27 of 53




       of biological reality and realize they will never be able to become the “opposite sex” despite

       the hormonal and surgical interventions. 40, 41

76. Several children in the small sample of 70 cases (which, by the end of the study, shrank to

       55) experienced severe adverse events while under treatment, including one young adult who

       died followed surgical complications, several cases of new diabetes and obesity, and at least

       one case of detransition, although the study is vague on this point. 42

77. This study, and the modest psychological improvements reported, came at the cost of

       sterility for 100% of the subjects (mandatory removal of ovaries and testes was part of the

       protocol), and were associated with severe adverse, raising serious ethical concerns that I will

       address later on in more detail.

78. The concern that I would like to focus on here is that the presentation of gender dysphoria in

       youth has markedly changed since the Dutch protocol’s final results were published in 2014.

       As a result, the continued application of this protocol to the populations for which it was

       never intended in the first place is not justified under any circumstances. This misapplication

       of the Dutch protocol directly contradicts the principle of evidence-based medicine.




40
  Delemarre-van de Waal HA, Cohen-Kettenis PT. Clinical management of gender identity disorder in adolescents:
a protocol on psychological and paediatric endocrinology aspects. eur j endocrinol. 2006;155(suppl_1):S131-S137.
doi:10.1530/eje.1.02231
41
  Cohen-Kettenis PT, Delemarre-van de Waal HA, Gooren LJG. The treatment of adolescent transsexuals: changing
insights. J Sex Med. 2008;5(8):1892-1897. doi:10.1111/j.1743-6109.2008.00870.x
42
     See de Vries et al., 2014

                                                       27
           Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 28 of 53




     ii.     The vast majority of currently presenting cases of gender dysphoric youth no longer meet

             the strict criteria of the Dutch protocol

79. Currently, approximately 2%-9% of minors in the US identify as transgender.43,44 Most are

       adolescent females who “came out” as transgender around the time of puberty, and very

       often have significant mental health comorbidities that pre-date the onset of transgender

       identity. 45, 46, 47 Increasingly, these minors are identifying as “non-binary”: neither male nor

       female, or both as male and female. 48 Recent research estimates that as many as 67% of

       trans-identified adolescents today identify as non-binary. 49

80. The new clinical presentation and skyrocketing numbers are totally new phenomena. As

       recently as eight or ten years ago, seeing a child with a cross-gender identity was extremely

       rare, and most were prepubescent boys, the majority of whom outgrew their trans




43
  Johns MM, Lowry R, Andrzejewski J, et al. Transgender Identity and Experiences of Violence Victimization,
Substance Use, Suicide Risk, and Sexual Risk Behaviors Among High School Students - 19 States and Large Urban
School Districts, 2017. MMWR Morb Mortal Wkly Rep. 2019;68(3):67-71. doi:10.15585/mmwr.mm6803a3
44
  Kidd KM, Sequeira GM, Douglas C, et al. Prevalence of Gender-Diverse Youth in an Urban School District.
Pediatrics. 2021;147(6):e2020049823. doi:10.1542/peds.2020-049823
45
 Becerra-Culqui TA, Liu Y, Nash R, et al. Mental Health of Transgender and Gender Nonconforming Youth
Compared With Their Peers. Pediatrics. 2018;141(5):e20173845. doi:10.1542/peds.2017-3845
46
  Kaltiala-Heino R, Sumia M, Työläjärvi M, Lindberg N. Two years of gender identity service for minors:
overrepresentation of natal girls with severe problems in adolescent development. Child Adolesc Psychiatry Ment
Health. 2015;9(1):9. doi:10.1186/s13034-015-0042-y
47
  Kaltiala-Heino R, Lindberg N. Gender identities in adolescent population: Methodological issues and prevalence
across age groups. Eur psychiatr. 2019;55:61-66. doi:10.1016/j.eurpsy.2018.09.003
48
  Chew D, Tollit MA, Poulakis Z, Zwickl S, Cheung AS, Pang KC. Youths with a non-binary gender identity: a
review of their sociodemographic and clinical profile. The Lancet Child & Adolescent Health. 2020;4(4):322-330.
doi:10.1016/S2352-4642(19)30403-1
49
  Green AE, DeChants JP, Price MN, Davis CK. Association of Gender-Affirming Hormone Therapy With
Depression, Thoughts of Suicide, and Attempted Suicide Among Transgender and Nonbinary Youth. Journal of
Adolescent Health. Published online December 2021:S1054139X21005681. doi:10.1016/j.jadohealth.2021.10.036

                                                         28
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 29 of 53




       identification sometime before mature adulthood. Many of these youths grew up to be gay. 50
       51


81. The graph shown here from the Gender Identity Service in England is but one example of

       this worldwide phenomenon.52




82. In my own practice, I am also struck by the similarities in the patient stories of trans-

       identified youth. Most are adolescent females who have had a normative childhood from the

       gender standpoint, but have felt isolated from their peers. They have had pre-existing anxiety

       and depression. Several have had a history of psychiatric hospitalizations.

83. What is particularly striking is that that my patients arrive at my office well-versed in gender-

       related terminology. The trans-identified youth I see use terms that I did not expect to hear

       from late elementary, middle school, and high school students. Without prompting or

       questioning, I often hear about self-diagnoses of depression, anxiety, PTSD, autism, and



50
     See Cantor, 2020, Appendix
51
  See Korte, 2008
52
  de Graaf NM, Giovanardi G, Zitz C, Carmichael P. Sex Ratio in Children and Adolescents Referred to the Gender
Identity Development Service in the UK (2009–2016). Arch Sex Behav. 2018;47(5):1301-1304. doi:10.1007/s10508-
018-1204-9


                                                      29
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 30 of 53




     dissociative disorders. Terms such as puberty blockers, cross sex hormones, fully reversible,

     partially reversible, irreversible, suicidality, allyship, misgendering, minority stress, and

     transphobia are often mentioned. The patient familiarity with terminology in this field is

     remarkable.

84. The advocates of medicalization may celebrate this as patient empowerment and patient

     education. To me this suggests a heavy influence from others. These youth self-diagnose and

     arrive in my office certain of their condition and the need for treatment, which is usually a

     request for hormones.

85. The emergence of a new clinical entity, and to an unprecedented scale, would normally give

     us pause. A pause to better understand what’s causing the exponential rise in gender

     dysphoria and how best to understand it and address it. Several national health systems in

     progressive countries have indeed done this very thing. They include Finland, Sweden, and

     the UK, all of which have recently conducted systematic reviews of evidence and have begun

     to sharply limit pediatric transition over the concerns about this new trend.

86. Instead of a pause and critical analysis of the situation, as other countries are now doing, the

     US presses on, oblivious to these changes, and even actively suppressing concerns. The

     researcher who first raised the key question of why suddenly so many teenagers, and

     especially females with pre-existing mental health problems, are declaring a trans identity

     and seeking “gender-affirming” hormones, and hypothesized that peer pressure and social

     influence may be playing a key role, has been subject to intimidation, abuse, and silencing.53

87. It should also be noted that we are currently experiencing a well-recognized and new

     phenomenon of high numbers of children, particularly adolescent females, developing the


53
  https://quillette.com/2018/08/31/as-a-former-dean-of-harvard-medical-school-i-question-browns-failure-to-
defend-lisa-littman/

                                                       30
          Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 31 of 53




      sudden onset of tics that has been tied to social contagion via social networks.54 Other well-

      researched socially-mediated psychological phenomena are eating disorders. It is known that

      bulimia and anorexia can spread through human social networks. These human social

      networks existed prior to the internet, can spread these conditions, and have

      disproportionately affected adolescent females. 55,56

88. I am not asserting that adolescent-onset gender dysphoria spreads through social circles or is

      socially contagious—however this hypothesis and others need to be investigated. It is

      reasonable and prudent to ask why this is happening—as many as 1 in 10 youth currently

      claim a transgender identity —before a growing number of children are subjected to

      irreversible and highly experimental medical interventions. 57



D. There is no established standard of care for transgender-identified youth

     i.     Current treatment guidelines do not represent a standard of care

89. Contrary to the plaintiffs’ expert reports, there is currently no established standard of care for

      transgender-identified youth. Instead, multiple professional societies have come up with

      various treatment guidelines which are increasingly divergent in terms of how to approach

      the management of gender dysphoria in youth.




54
  https://ipmh.duke.edu/news/pediatric-presentation-tics-potential-role-tiktok
55
  Allison S, Warin M, Bastiampillai T. Anorexia nervosa and social contagion: Clinical implications. Aust N Z J
Psychiatry. 2014;48(2):116-120. doi:10.1177/0004867413502092
56
  Forman-Hoffman VL, Cunningham CL. Geographical clustering of eating disordered behaviors in U.S. high
school students. Int J Eat Disord. 2008;41(3):209-214. doi:10.1002/eat.20491
57
  Littman L. Parent reports of adolescents and young adults perceived to show signs of a rapid onset of gender
dysphoria. Romer D, ed. PLoS ONE. 2018;13(8):e0202330. doi:10.1371/journal.pone.0202330


                                                        31
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 32 of 53




90. Unlike standards of care, which should be authoritative, unbiased consensus positions

       designed to produce optimal outcomes, practice guidelines are suggestions or

       recommendations. Depending on their sponsor, practice guidelines may be biased. 58

91. The World Professional Association for Transgender Health (WPATH), an advocacy

       organization with a mission to remove barriers to insurance coverage for “gender-affirming”

       hormones and surgeries, is one of several organizations that authors guidelines in this space.

       Although WPATH named its guidelines “Standards of Care,” it recently had to acknowledge

       that their recommendations are merely practice guidelines, rather than standards of care.59

92. The “Standards of Care 7” acknowledges that it was not evidence-based and did not utilize

       any systematic reviews of evidence, but rather was based on the emerging cultural changes

       and expert opinions of clinicians, many of whom derive a significant proportion of their

       income from delivering transgender medicine. A recent systematic review of treatment

       guidelines in this space found that “Standards of Care 7” were generally unfit for clinical

       decision-making, and it described several recommendations in the document as incoherent.60

93. The upcoming “Standards of Care 8” have not yet been finalized, but the draft version signals

       even more aggressive lowering of age of eligibility for hormonal and surgical interventions

       than that found in “Standards of Care 7,” clearly signaling that the values and preferences of




58
  Malone WJ, Hruz PW, Mason JW, Beck S. Letter to the Editor from William J. Malone et al: “Proper Care of
Transgender and Gender-diverse Persons in the Setting of Proposed Discrimination: A Policy Perspective.” The
Journal of Clinical Endocrinology & Metabolism. Published online March 27, 2021:dgab205.
doi:10.1210/clinem/dgab205
59
     See Malone et al., 2021
60
  Dahlen S, Connolly D, Arif I, Junejo MH, Bewley S, Meads C. International clinical practice guidelines for
gender minority/trans people: systematic review and quality assessment. BMJ Open. 2021;11(4):e048943.
doi:10.1136/bmjopen-2021-048943


                                                        32
           Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 33 of 53




       WPATH clinicians are strongly aligned with medicalization even when the evidence for it is

       low-quality and non-existent entirely.

94. Another guideline that the plaintiffs’ expert witnesses erroneously cite as representing the

       standard of care is that by the Endocrine Society. However, the Endocrine Society’s

       guidelines clearly state: 61

             “…the guidelines cannot guarantee any specific outcome, nor do they establish a

             standard of care.” (Hembree et al., 2017, p. 3895)


95. The Endocrine Society’s recommendation to halt gender dysphoric minors’ puberty and treat

       them with cross-sex hormones is rated as “weak,” and is recognized as coming from low

       quality evidence by the guidelines itself.62 The “weak” grading indicates that it is not known

       whether the benefits outweigh the risks.

96. Notably, the only studies cited in the two key recommendations to treat minors hormonally

       are the two Dutch studies I described earlier. 63 Thus, the entire foundation of the Endocrine

       Society’s recommendations to medically intervene with gender-dysphoric minors comes

       from a single small-scale experiment with significant problems, as described earlier.



     ii.     The National Institutes of Health (NIH)-funded research acknowledges that little is known
             about pediatric gender transition

97. According to the research protocol filed by the researchers for a recent NIH grant, the data on

       pediatric gender transitions are almost entirely lacking. The need to conduct this research




61
   See Hembree et al., 2017
62
   See Hembree et al., 2017
63
   See de Vries et al., 2011 and de Vries et al., 2014

                                                         33
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 34 of 53




       demonstrates that this care pathway remains largely experimental, with an unknown risk-

       benefit ratio. 64

98. The following quotes from the NIH grant from 2019 clearly demonstrate how immature the

       field of pediatric gender medicine is: 65

           ▪   “Although the Endocrine Society Clinical Practice Guidelines are widely adopted by

               providers around the United States and worldwide, there are no formal empirical

               studies of related clinical outcomes in transgender children and adolescents.”

           ▪   “…existing models of care for transgender youth…have been used in clinical settings

               for close to a decade, although with limited empirical research to support them”

           ▪   “Although these [current clinical practice] guidelines have informed care at

               academic and community centers across the United States, they are based on very

               limited data. Furthermore, there is minimal available data examining the long-term

               physiologic and metabolic consequences of gender-affirming hormone treatment in

               youth. This represents a critical gap in knowledge that has significant implications

               for clinical practice across the United States.”

           ▪   “The gap in existing knowledge about the impact of these practices leaves providers

               and caretakers uncertain about moving forward with the recommended medical

               interventions for transgender youth seeking phenotypic transition.”




64
  Olson-Kennedy J, Chan YM, Garofalo R, et al. Impact of Early Medical Treatment for Transgender Youth:
Protocol for the Longitudinal, Observational Trans Youth Care Study. JMIR Res Protoc. 2019;8(7):e14434.
doi:10.2196/14434
65
     See Olson-Kennedy et al., 2019

                                                     34
            Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 35 of 53




99. These quotes, and the substantial amount of money paid by the NIH to fund this research,

        clearly demonstrate that “gender-affirmative” interventions are still in the experimental stage

        and are not yet ready to deemed either “safe” or “effective.”

100. When there is no data of the benefits, and the risks are substantial, the onus is on the

             research community to first demonstrate that benefits that outweigh the risks. Until such

             evidence exists, no standard of care can be claimed.


     iii.      The United States is increasingly becoming an outlier in its non-evidence-based stance

               that transitioning minors is a safe and effective practice

101. Sweden is the first country in the world to recognize the legal status of transgender adults.

             In May of 2021, Sweden’s flagship children’s hospital, which is affiliated with the

             Karolinska Institute that grants the Nobel Prize of Medicine, announced that they were

             discontinuing all new pediatric transitions due to concerns over the lack of efficacy and the

             potential for significant harm. In May 2022, Sweden’s Health Authority (National Board of

             Health and Welfare/NBHW) issued a country-wide policy that states that going forward,

             pediatric gender transitions will not be available in general medical practice to those <18.

             Such interventions will only be provided in strictly controlled clinical trial settings with a

             focus on the strictest ethical safeguards for youth, given the significant risk of harm.


102. It is noteworthy that the official English translation of Sweden’s health authority’s decision

             states:66



66
     https://www.socialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf

                                                         35
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 36 of 53




           “For adolescents with gender incongruence, the NBHW deems that the risks of puberty

           suppressing treatment with GnRH-analogues and gender-affirming hormonal treatment

           currently outweigh the possible benefits... This judgement is based mainly on three

           factors: the continued lack of reliable scientific evidence concerning the efficacy and the

           safety of both treatments, the new knowledge that detransition occurs among young adults,

           and the uncertainty that follows from the yet unexplained increase in the number of care

           seekers, an increase particularly large among adolescents registered as females at birth.”

103. Increasingly, a number of western countries with significant experience in pediatric gender

         transition are turning away from WPATH and the Endocrine Society’s guidelines. In the

         last 24 months, not just Sweden, but also Finland, the UK, and France, after independently

         reviewing evidence, have issued their own guidelines that are far more conservative than

         the stances promoted by the US-based medical societies. 67,68,69

104. However, in the US, the proponents of medical interventions of minors continue to assert

         that if a child on the verge of puberty, or an older adolescent meets the diagnostic criteria

         for gender dysphoria, then medical interventions are without question “medically

         necessary.”

105. This confidence by US clinicians extends to medical interventions for “non-binary” youth

         who are an even less well-understood population. Procedures viewed as “medically

         necessary” by some of the proponents of “gender-affirmative care” for minors now include




67
     https://segm.org/Finland_deviates_from_WPATH_prioritizing_psychotherapy_no_surgery_for_minors
68
     https://cass.independent-review.uk/publications/interim-report/
69
     https://segm.org/France-cautions-regarding-puberty-blockers-and-cross-sex-hormones-for-youth

                                                           36
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 37 of 53




      the suppression of puberty indefinitely in order to present as an ambiguous sex, 70,71

      mastectomy on youth as young as 13 years of age, 72 and “non-binary” breast surgeries that

      preserve a feminine appearance while changing the placement of the nipples to be more

      reminiscent of a male chest, should the minor’s identity reside somewhere along the “male

      to female spectrum.” 73

106. It is my belief that the highly politicized nature of the US debate about transgender

      healthcare has pushed our country toward an increasingly pro-medicalization position, at

      the same time the rest of the world is making a U-turn. The failure of the US-based medical

      societies to recognize the harms that are currently occurring to vulnerable minors is hard to

      understand, and raises serious ethical questions.


IV. Ethical Considerations and Conclusions

107. Medical ethics rests on four key pillars: the principles of patient autonomy, justice,

      beneficence, and nonmaleficence.74 It is my belief as a bioethicist that providing youth with

      hormones and surgeries directly violates all of these principles. For this reason, it is my

      belief that true informed consent to “gender-affirming” hormones and surgeries for minors

      is not possible.




70
  Notini L, Earp BD, Gillam L, et al. Forever young? The ethics of ongoing puberty suppression for non-binary
adults. J Med Ethics. Published online July 24, 2020:medethics-2019-106012. doi:10.1136/medethics-2019-106012
71
  Pang KC, Notini L, McDougall R, et al. Long-term Puberty Suppression for a Nonbinary Teenager. Pediatrics.
2020;145(2):e20191606. doi:10.1542/peds.2019-1606
72
  Olson-Kennedy J, Warus J, Okonta V, Belzer M, Clark LF. Chest Reconstruction and Chest Dysphoria in
Transmasculine Minors and Young Adults: Comparisons of Nonsurgical and Postsurgical Cohorts. JAMA Pediatr.
2018;172(5):431. doi:10.1001/jamapediatrics.2017.5440
73
  https://cranects.com/non-binary-surgery/
74
 Varkey B. Principles of clinical ethics and their application to practice. Med Princ Pract. Published online June 4,
2020. doi:10.1159/000509119


                                                         37
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 38 of 53




       A. The principle of “Patient Autonomy” is not respected when “gender-affirming”
           hormones and surgeries are provided to minors

108. Patient autonomy is a bedrock principle of medical ethics, having a long and well-respected

         history in both medical ethics and the law. In the context of providing hormones and

         surgeries to gender-dysphoric minors who wish for these interventions, the advocates of

         medical interventions are misrepresenting the nature of patient autonomy.

109. Rather than the right to demand and receive any treatment, patient autonomy is rightfully

         understood as the patient’s right to consent to and to refuse treatment. Medical care cannot

         be done without a valid informed consent. It cannot be provided against the patient’s will.

         The court stated this clearly in Schloendorff v Society of New York Hospital:

           “Every human being of adult years and sound mind has a right to determine what shall

           be done with his own body; and a surgeon who performs an operation without his

           patient's consent commits an assault for which he is liable in damages.” 75

110. Patient autonomy has never meant that a patient or their guardian have the right to demand

         and receive treatment that is inappropriate or harmful. For example, pediatricians routinely

         decline to provide antibiotics to children with viral infections. Well-meaning and deeply

         concerned parents may be looking for, and even demand, antibiotics as a solution to a

         child’s viral illness. However, we do not prescribe antibiotics in these cases because they

         have no role in viral infections, carry risks to the child, and the inappropriate use of

         antibiotics create resistance in the community. Likewise, when worried parents implore

         physicians for a CT scan of their child’s head following a minor head trauma, a

         conscientious physician will decline such a request. There is no benefit to imaging for




75
     Schloendorff v. Society of New York Hospital, 1914 https://biotech.law.lsu.edu/cases/consent/schoendorff.htm

                                                          38
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 39 of 53




         minor head trauma and there are well-recognized risks that are not insignificant, including

         sedation and radiation exposure. In these cases, we are not “denying care.” We are

         providing the patients with appropriate medical care and safeguarding them from the risk

         of harm.

111. Like antibiotics for viral infections or CT scans for minor head injuries, puberty blockers,

         cross sex hormones, and surgeries do not have proven psychological or physical health

         benefits for gender-dysphoric youth. This lack of benefit has been the conclusion of recent

         quality systematic reviews by the UK, Sweden’s, and Finland’s public health

         authorities.76,77,78,79 Sweden’s National Health and Welfare Board has determined that risks

         of gender affirming care “currently outweigh the benefits.” 80

112. The medical risks of “gender-affirming” interventions are substantial. The most recent

         evidence shows that a gender-dysphoric child with normally timed puberty who is started

         on puberty blockers has a nearly 100% chance of continuing to cross-sex hormones.81,82,83

         This medical sequence will render the child sterile.


76
     https://web.archive.org/web/20220414202655/https://arms.nice.org.uk/resources/hub/1070905/attachment
77
     https://web.archive.org/web/20220215111922/https://arms.nice.org.uk/resources/hub/1070871/attachment
78
 SBU. Hormonbehandling Vid Könsdysfori - Barn Och Unga [Hormonal Treatment of Gender Dysphoria -
Children and Adolescents]. SBU; 2022. https://www.sbu.se/342
79
  Pasternack I, Söderström I, Saijonkari M, Mäkelä M. Lääketieteelliset menetelmät sukupuolivariaatioihin liittyvän
dysforian hoidossa. Systemaattinen katsaus. [Appendix 1 Systematic Review]. Published online 2019:106. Accessed
May 1, 2022. https://app.box.com/s/y9u791np8v9gsunwgpr2kqn8swd9vdtx
80
     https://www.socialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf
81
  Wiepjes CM, Nota NM, de Blok CJM, et al. The Amsterdam Cohort of Gender Dysphoria Study (1972–2015):
Trends in Prevalence, Treatment, and Regrets. The Journal of Sexual Medicine. 2018;15(4):582-590.
doi:10.1016/j.jsxm.2018.01.016
82
  Carmichael P, Butler G, Masic U, et al. Short-term outcomes of pubertal suppression in a selected cohort of 12 to
15 year old young people with persistent gender dysphoria in the UK. Santana GL, ed. PLoS ONE.
2021;16(2):e0243894. doi:10.1371/journal.pone.0243894
83
  Brik T, Vrouenraets LJJJ, de Vries MC, Hannema SE. Trajectories of Adolescents Treated with Gonadotropin-
Releasing Hormone Analogues for Gender Dysphoria. Arch Sex Behav. 2020;49(7):2611-2618. doi:10.1007/s10508-
020-01660-8

                                                         39
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 40 of 53




113. Other medical harms also ensue. These include harms to bone health, cardiovascular

      health, brain development, and other problems. 84,85,86

114. A physician who grants a minor’s wish for these interventions is not respecting patient

      autonomy. That physician is misusing the principle of patient autonomy to justify unethical

      experimentation on minors.

115. Another key ethical dilemma regarding patient autonomy is whether the wishes of the 13-

      year-old should be privileged over the wishes of the future adult self. Can the 13-year-old

      self fully and truly know what the 25-year-old self will desire regarding the questions of

      sexual function and reproductive rights? We do not know what the 25-year-old will say

      about the loss of sexual function or fertility. A price may be paid that can never be

      recouped, all for bodily change that may or may not comport with the 25-year-old’s future

      identity and desires.

116. It is a well-known fact that many adult trans-identified individuals choose not to undergo

      “gender-affirming” procedures that threaten their sexual function. While adults chose to

      preserve their fertility and sexual function, children at Tanner stage 2, which can occur in

      females as young as 8, are asked to contemplate, decide, and then consent to treatments

      with puberty blockers followed by cross sex hormones, which will cause sterility. Fertility




84
  Klink D, Caris M, Heijboer A, van Trotsenburg M, Rotteveel J. Bone Mass in Young Adulthood Following
Gonadotropin-Releasing Hormone Analog Treatment and Cross-Sex Hormone Treatment in Adolescents With
Gender Dysphoria. The Journal of Clinical Endocrinology & Metabolism. 2015;100(2):E270-E275.
doi:10.1210/jc.2014-2439
85
  Alzahrani T, Nguyen T, Ryan A, et al. Cardiovascular Disease Risk Factors and Myocardial Infarction in the
Transgender Population. Circ: Cardiovascular Quality and Outcomes. 2019;12(4).
doi:10.1161/CIRCOUTCOMES.119.005597
86
 Schneider MA, Spritzer PM, Soll BMB, et al. Brain Maturation, Cognition and Voice Pattern in a Gender
Dysphoria Case under Pubertal Suppression. Front Hum Neurosci. 2017;11:528. doi:10.3389/fnhum.2017.00528


                                                       40
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 41 of 53




      preservation – harvesting of egg or sperm – may be discussed by the proponents of

      medicalization. However, there are no mature egg or sperm to harvest at Tanner stage 2.

      Sterility is guaranteed with oophorectomy and removal of testes (castration).

117. It is important to note that a number of individuals who identified as transgender in their

      teen years and no longer identify as transgender upon reaching maturity have expressed

      gratitude that they did not undergo medical and surgical interventions that would have

      rendered them infertile. This sentiment is echoed by detransitioners who did receive these

      interventions and express disappointment, grief, and anger that nobody resisted their

      desires. No one challenged them. No one slowed down the younger version of themselves.
      87,88


118. The principle of patient autonomy also requires a fiduciary, trusting relationship between

      physician and patient. Truthfulness and full disclosure of information must occur for the

      patient and parent to exercise autonomy. As my arguments demonstrate, the low-quality

      evidence, lack of long-term follow-up, and increasing reports of harm, regret, and

      detransition, all raise grave concerns about “gender-affirmative care.”

119. In my experience of having reviewed informed consent forms, speaking to physicians and

      therapists involved in “gender affirmative” care that refer for or prescribe puberty blockers

      and cross sex hormones, and talking to patients and parents who have transitioned or are

      seeking to transition, many of these concerns are not disclosed to patients and families.

      While some well-established risks are mentioned, the profound uncertainties are not

      acknowledged, and even denied by proponents of “gender-affirmative” care.89



87
   See Vandenbussche (2021)
88
   See Littman (2021)
89
   See Levine, 2022

                                                41
     Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 42 of 53




120. For example, puberty blockers are often misrepresented as fully reversible despite

      mounting evidence that they irreversibly impeded bone growth, impact cognitive

      development, change the psycho-sexual profile toward a diminished sexual desire, and

      likely have a host of other yet unknown consequences. The relative safety record of

      puberty blockers administered for precocious puberty (e.g., a 5-year old who is starting to

      develop pubic hair and develop breasts) is being misrepresented as evidence that this

      intervention will be safe and fully reversible when used off-label to stop normally-timed

      puberty.

121. Puberty is the developmentally appropriate time when every organ system benefits from

      sex hormones to reach its optimal adult function. We do not know the long-term effects of

      stopping the biologically vital, normally timed process of puberty for several years. This is

      the reason why the UK’s National Health Service recently replaced its statement that

      puberty blockers are reversible and now states: 90,91

                 “Little is known about the long-term side effects of hormone or puberty blockers

                 in children with gender dysphoria.” (NHS)


122. Also, it is typically not disclosed to the patients that the population on which the Dutch

      protocol was originally tested does not match most of the cases presenting today and that

      most cases treated with the protocol today would have been disqualified by the original

      study. Specifically, the Dutch excluded from transition adolescents whose transgender

      identity was not clearly established in early childhood, and those with significant mental




90
  https://www.spectator.co.uk/article/the-nhs-has-quietly-changed-its-trans-guidance-to-reflect-reality
91
  https://www.nhs.uk/conditions/gender-
dysphoria/treatment/#:~:text=Puberty%20blockers%20and%20cross%2Dsex%20hormones&text=Little%20is%20k
nown%20about%20the,the%20psychological%20effects%20may%20be.

                                                  42
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 43 of 53




         health problems. 92 Nor is it typically disclosed to the patients and parents that the mental

         health of the Dutch study participants did not statistically or meaningfully improve after

         gender reassignment. Instead, these treatments are misrepresented as “life-saving.”

123. Finally, patient autonomy is correctly understood as the freedom to act towards one’s

         objective good. “Gender-affirming care” leads to sterilization, increased risk to general

         health (bone, cardiac, others), surgical complications, the potential for worsened mental

         health, and in a growing number of instances, future regret. These outcomes are objectively

         bad.

124. Thus, it is my opinion as a bioethicist that “gender-affirming” interventions with hormones

         and surgery for minors not only fail to support the core principle of Autonomy, but they

         directly violate it.

       B. The principle of “Justice” is violated when minors are provided with “gender-
          affirming” hormones and surgery

125. The right to control one’s reproduction and sexual function is well recognized by United

         States law and court rulings. Article 16 of the United Nations Universal Declaration of

         Human Rights recognizes that “men and woman of full age have the right…to found a

         family.”

126. It is now well recognized that puberty blockers followed by cross sex hormones are, in

         effect, chemical castration, which is likely irreversible. The removal of testicles, which

         WPATH supports as early as 17 years of age in the draft of its upcoming guidelines, is

         irreversible castration.




92
     See Delemarre-van de Waal & Cohen-Kettenis, 2006 and Cohen-Kettenis et al., 2008.

                                                        43
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 44 of 53




127. It is unjust and unethical to sterilize a gender-non-conforming, mentally distressed

         adolescent. In my opinion, this is precisely what “gender-affirmative care” is doing to

         children. Children and adolescents do not have the capacity—the knowledge,

         understanding, and judgement—to comprehend the gravity of the decision they are making

         regarding their fertility.

128. The United States medical profession has a shameful history regarding forced and coerced

         sterilization of minors and adults without informed consent. All people of goodwill now

         agree that the court erred when it upheld these unethical sterilization practices in Buck v

         Bell (274 U.S. 200, 1927). 93

129. It is my opinion as a bioethicist that “gender-affirming” interventions for minors violates

         the core ethical principle of Justice.



       C. The ethical principles of “Beneficence” and “Non-Maleficence” are violated by
          providing minors with “gender-affirming” hormones and surgeries


130. The principles of beneficence and non-maleficence are fundamental principles of medical

         ethics. They require that medicine must do good and avoid harm. The Dutch Study94 on

         which the practice of pediatric transition rests (as evidenced by the Endocrine Society

         Guidelines’ citations 95) has demonstrated that the “good” was narrowly defined and

         remains highly uncertain, while the “harm” was self-evident.

131. The Dutch Study claimed the greater “good” by claiming (correctly) that post-surgery the

         young adults who emerged after transition were functioning well, or even better, than the


93
     https://supreme.justia.com/cases/federal/us/274/200/
94
     See de Vries et al., 2014
95
     See Hembree et al., 2017

                                                            44
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 45 of 53




         average 21-year-old Dutch peer. However, the study authors did not reflect on the fact that

         their screening methods nearly guaranteed such an outcome, since their carefully-selected

         70 study subjects were already extremely high functioning before treatment.

132. Their beneficial claims also fail to address the harm to the patient with postoperative death

         after genital surgery and several instances of diabetes and obesity that developed during

         treatment.96

133. It has been longer than 10 years since these adolescents were transitioned, and we have no

         long-term follow up on this cohort. However, another study by the Dutch of an adolescent

         treated with the same protocol several years earlier did follow that individual into their

         mature adult years and the results are not reassuring. When this individual was first

         followed as a young 20-year old shortly after surgery, he was happy with the transition and

         the appearance of his genitals.97 However, when followed up again at the age of thirty-five

         the situation had changed.

134. The patient was living alone and unable to form a loving relationship with a partner. He

         attributed the inability to form a long-lasting stable relationship to the shame about his

         genitalia. 98 This case does not lend confidence to the notion that the youth in the Dutch

         Study will be thriving in key aspects of their lives once they reach a mature adult age.

135. The Endocrine Society relies heavily on the Dutch Protocol in writing their guidelines, yet

         they fail to address the serious harms that were present and reported in the Dutch Study.



96
     See de Vries et al., 2014
97
  Cohen-Kettenis PT, van Goozen SHM. Pubertal delay as an aid in diagnosis and treatment of a transsexual
adolescent. European Child & Adolescent Psychiatry. 1998;7(4):246-248. doi:10.1007/s007870050073
98
  Cohen-Kettenis PT, Schagen SEE, Steensma TD, de Vries ALC, Delemarre-van de Waal HA. Puberty
Suppression in a Gender-Dysphoric Adolescent: A 22-Year Follow-Up. Arch Sex Behav. 2011;40(4):843-847.
doi:10.1007/s10508-011-9758-9


                                                      45
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 46 of 53




         They fail to mention or address the fact that fertility was destroyed in 100% of the youth

         transitioned in the Dutch Study. Nor are the 3 cases of new onset diabetes and obesity that

         developed during the Dutch Study addressed by the Endocrine Society. It cannot be said

         for certain that transition caused these effects, but a 4.3% rate of diabetes in a pediatric

         population is highly unusual and should lead to further concern and study. Another

         adolescent in the Dutch Study stopped short of gender confirming surgery. This patient has

         had irreversible changes from puberty blockers followed by cross-sex hormones. We do

         not know the effects of these permanent changes on this young person’s life.

136. The one young person who tragically died as a result of surgical complications has already

         been mentioned. Death was due to tissue necrosis as a complication of a vaginoplasty: a

         procedure to construct a neo-vagina from the penis after castration. This translates into a

         1%-2% death rate.

137. The evidence of regret is now emerging from newer research. The first large study of

         detransitioners in 2021 reported on 237 people. They stopped transitioning on average 4

         years after starting. 99 Another study of 100 people who regretted their sex transition

         stopped the process on average 3.9 years after it began.100 These numbers dwarf the

         participants in the Dutch Study, which ended their report 18 months after transition.

138. Many of the studies that purport benefit of transition recruit participants from online pro-

         transition activist sites. 101,102 At the same time, little attention is paid to the emerging


99
     See Vandenbussche, 2021.
100
      Littman, 2021
101
   Turban JL, King D, Carswell JM, Keuroghlian AS. Pubertal Suppression for Transgender Youth and Risk of
Suicidal Ideation. Pediatrics. 2020;145(2):e20191725. doi:10.1542/peds.2019-1725
102
   D’Angelo R, Syrulnik E, Ayad S, Marchiano L, Kenny DT, Clarke P. One Size Does Not Fit All: In Support of
Psychotherapy for Gender Dysphoria. Arch Sex Behav. Published online October 21, 2020. doi:10.1007/s10508-020-
01844-2

                                                      46
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 47 of 53




         online communities of detransitioners and their stories are readily dismissed by proponents

         of affirmative care. One such community has over 28,000 subscribers, at least half of

         whom are estimated to be actual detransitioned patients.103 The sheer numbers of people on

         the site sharing their devastating transition stories, their regret, and their harms dwarfs the

         Dutch case series of 55. The stories posted here are heart wrenching and indisputable

         evidence of the great harm being done.

139. There is no doubt in my mind that parents of children receiving “gender-affirming”

         interventions want the best for their children, and they are acting on advice of

         professionals. It is the physicians and counselors whom I believe have failed these parents

         and their children, falsely asserting that gender transition will help their children long-term.

         Many of these professionals themselves are misled by the activism that has taken over US-

         based professional bodies.

140. No matter how well-meaning the advocates of pediatric gender transition are, their actions

         lack beneficence. The experiment of medically and surgically transitioning minors lacks

         long-term outcome data. There is no meaningful evidence of long-term benefits. There are

         many demonstrable harms. And there remain many unknowns and uncertainties.


       D. True informed consent for “gender-affirming care” for minors is not possible

141. Informed consent is another foundational principle of bioethics. It rests on all the other

         principles and requires a trusting and truthful relationship with one’s physician. Physician-

         patient relationships must respect personal autonomy, promote the patient good, avoid

         harms, and seek justice. As a bioethicist, I am deeply concerned that valid informed




103
      https://www.reddit.com/r/detrans/

                                                     47
       Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 48 of 53




         consent, a prerequisite of ethical care, is not possible in the context of “gender-affirmative

         care” for minors.

142. For informed consent to be valid the minor child or parent must understand the proposed

         procedure. The possible benefits, risks, limitations, and alternatives must be disclosed to

         the minor patient and parent. Since the information regarding “gender-affirmative care” is

         of low quality, unreliable, and very uncertain, a true understanding is not possible.

143. Also, for the consent to be valid, alternative approaches, including the approach to not

         medically intervene with one’s gender non-conformity, must be discussed. However,

         alternative approaches such as psychotherapy, 104 which are now recommended as the first

         line and often the only treatment for gender dysphoric youth in European countries, are

         often withheld from US children and misrepresented as “conversion.” This is dishonest and

         further undermines the informed consent process.

144. In addition, informed consent is not valid if decisions are made under coercion or duress

         (The Nuremberg Code, 1946).105 It is highly problematic that the so-called “gender

         specialists” raise the specter of suicide. This can only alarm parents and their children, with

         wrongful and unsupported claims that these radical interventions are “lifesaving.” These

         claims wrongly imply that transgender patients will commit suicide if not permitted to

         transition.

145. It is true that self-harm and suicidal thoughts are increased in trans-identified youth, but the

         suicide risk is on par with youth who have other mental health conditions, and thankfully,




104
   Schwartz D. Clinical and Ethical Considerations in the Treatment of Gender Dysphoric Children and
Adolescents: When Doing Less Is Helping More. Journal of Infant, Child, and Adolescent Psychotherapy. Published
online November 22, 2021:1-11. doi:10.1080/15289168.2021.1997344
105
      https://www.ushmm.org/information/exhibitions/online-exhibitions/special-focus/doctors-trial/nuremberg-code

                                                         48
      Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 49 of 53




       the absolute risk of suicide among gender-dysphoric youth remains exceedingly rare,

       recently estimated at 0.03% over 10 years in the UK.106 That the US is not doing similar

       quality research with clinic-referred populations, instead relying on alarmist statistics

       derived from online activist surveys, further emphasizes just what an outlier the US-based

       approach to gender dysphoric minors has become compared to the rest of the western

       world.

146. Unfortunately, no study to date has been able to demonstrate that actual suicides are

       reduced post-transition. Parents are wrongly and unethically told that transition is the only

       solution to their child’s problems. The “transition or suicide” mantra proclaimed by gender

       ideology is coercive, untrue, and unethical. 107

147. Ethical behavior demands that we are truthful with our patients. Dishonesty, deceit, and

       coercion are unethical. Problematically, in my experience, some proponents of

       medicalization of minors mislead children and their families that “gender-affirming care”

       leads to a “sex change.” They assert that through the hormonal and surgical manipulations

       of one’s physical body, the “true sex,” which they claim is signified by their “gender

       identity” will be allowed to emerge. I have heard from youth who decided to detransition

       when they finally come to the realization that they will never become the opposite sex. It is

       hard for me to believe that professionals mislead children in such a fundamental way.

148. Children believe adults. This is especially true when adults with medical degrees assure

       them that they can change sex. At least some of these children will be bitterly disappointed

       later when they realize that they will be medically dependent for life. Cross-sex hormones


106
  Biggs M. Suicide by Clinic-Referred Transgender Adolescents in the United Kingdom. Arch Sex Behav.
Published online January 18, 2022. doi:10.1007/s10508-022-02287-7
107
  https://www.wbez.org/stories/id-rather-have-a-living-son-than-a-dead-daughter/69b0e784-d9c1-44a3-a0f7-
419864fe0d3c

                                                     49
Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 50 of 53
   Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 51 of 53

CURRICULUM VITAE
Patrick K. Hunter, MD, MSc

PERSONAL DATA

      Place of Birth                                Chicago, IL

      Home Address


      Telephone

      Email

EDUCATIONAL DEGREES

      May 1992         MD                           University of Louisville
                                                    Louisville, Kentucky

      April 2020       MSc, Biomedical Ethics       University of Mary
                                                    Bismarck, ND

      May 1988         BA Zoology                   Miami University
                                                    Oxford, Ohio

POSTGRADUATE TRAINING

      1992 to 1995                                  Internship and Residency
                                                    Tripler Army Medical Center
                                                    Department of Pediatrics
                                                    Honolulu, Hawaii

PROFESSIONAL EXPERIENCE

      January 2022-present                          Pensacola Pediatrics
                                                    Milton, FL

      August 2015 to December 2021                  Lake Nona Pediatrics,
                                                    in Association with Nemours

      August 2013 to July 2015                      The Maui Medical Group
                                                    Wailuku, HI
                                                    Member, Board of Directors
      June 2008 to June 2013                        U.S. Department of Defense
                                                    Tripler Army Medical Center and
                                                    Naval Health Clinic Hawaii
                                                    Honolulu, HI
                                                    Academic General Pediatrician
                                                    Chief, Mother-Baby Unit

      July 1998 to June 2008                        The Purcell Clinic
                                                    Laurinburg, North Carolina
                                                    Partner/Owner

      July 1995 to June 1998                        Staff Pediatrician &
                                                    Chief of the Pediatric Clinic
                                                    Captain, Medical Corps US Army
                                                    Darnall Army Community Hospital
                                                    Fort Hood, Texas
   Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 52 of 53

CURRICULUM VITAE
Patrick K. Hunter, MD, MSc

EDUCATIONAL APPOINTMENTS

      July 2017 to present                                      Assistant Professor of Medicine
                                                                University of Central Florida
                                                                College of Medicine

      March 2009 to June 2015                                   Assistant Clinical Professor
                                                                Department of Pediatrics
                                                                University of Hawaii
                                                                John A. Burns School of Medicine

      February 2012 to July 2013                                Assistant Clinical Professor
                                                                Department of Pediatrics
                                                                Uniformed Services University of
                                                                  the Health Sciences
                                                                Bethesda, Maryland

      1998 – 2008                                               Study Investigator
                                                                North Carolina Children and
                                                                Adult Research Foundation

CLINICAL INTERESTS

      Biomedical ethics
      Judicious use of health care services
      Immunizations
      Asthma -- patient and parental education and motivation
      Promotion of early childhood literacy
      Newborn and Neonatal Care
      Breastfeeding Promotion
      Infectious Diseases
      Well Child Care
      Motivational Interviewing

HOSPITAL APPOINTMENTS

       Nemours Children’s Hospital                              2015 to 2021
         Orlando, FL

               Ethics Committee

       Maui Memorial Hospital                                   2013 to 2015
         Wailuku, HI

      Tripler Army Medical Center                               2008 - 2012
          Honolulu, HI

      Scotland Memorial Hospital                                1998-2009
        Laurinburg, NC

               Medical Record Review Committee                  2001-2002
               Chairman, Department of Pediatrics               2001-2002, 2007-2008
               Medical Executive Committee                      2001-2005, 2007-2008
               Medical Staff Secretary                          2001-2002
               Chief of Staff—Elect                             2002-2003
               Chief of the Medical Staff                       2003-2004
               Chair, Credentials Committee                     2004-2005
               Physician Effectiveness Committee                2002-2008
   Case 2:22-cv-00184-LCB-CWB Document 69-6 Filed 05/02/22 Page 53 of 53

CURRICULUM VITAE
Patrick K. Hunter, MD, MSc

MEDICAL LICENSES

      Hawaii
      Florida

BOARD CERTIFICATION

      American Board of Pediatrics                                                        October 1995


COMMUNITY SERVICE

      Scotland County Habitat for Humanity
              Board Member                                                                2002-2003

      Scotland Memorial Hospital
              Foundation Board Member                                                     1999-2002

      Scotland Memorial Hospital
              Board Member                                                                2003-2005
              Executive & Operating Committee Member                                      2003-2004

      St. Andrews Presbyterian College
               Laurinburg Area Campaign Committee                                         2000 and 2007

      St. Anthony Catholic Church
               Knights of Columbus                                                        2008 to 2013
               Pastoral Council                                                           2010 to 2012

      St. Thomas Free Clinic                                                              2018 to 2021
              Pediatrician

      St. John Fisher Catholic Church                                                     2018 to 2021
               Finance Committee

ABSTRACTS, PAPERS, AND PRESENTATIONS

      The Western Society of Pediatric Research Annual Meeting, February 1994
      Pallister Hall syndrome in siblings, a case report and review of the literature Abstract and
      presentation

      Smith AE, Vedder TG, Hunter PK, et al. The Use of Newborn Screening Pulse Oximetry to Detect Cyanotic
      Congenital Heart Disease: A Survey of Current Practice at Army, Navy, and Air Force Hospitals. Military
      Medicine. March 2011; 176(3) 343-346

      Hunter PK. Political Issues Surrounding Gender Affirming Care of Transgender Youth. JAMA Pediatrics.
      December 2021; 176(3):322-323. doi:10.1001/jamapediatrics.2021.5348
